Case 1:12-cv-00026-ACK-RLP Document 12-1 Filed 03/12/12 Page 1 of 1                                 PageID #: 36
  AO 450 (Rev. 5/85) Judgment in a Civil Case




                                   UNITED STATES DISTRICT COURT

                                                DISTRICT OF HAWAII

   JOSHUA MEDEIROS                                          JUDGMENT IN A CIVIL CASE

                   Plaintiff(s),                            Case: CIV. NO. 12-00026 ACK-RLP
                     V.                                                 FILED IN THE
                                                               UNITED STATES DISTRICT COURT
                                                                    DISTRICT OF HAWAII

                                                                           March 12, 2012
   EQUIFAX AND THE UNITED
                                                                     At 4 o’clock and 00 min p.m.
   STATES SOCIAL SECURITY                                               SUE BEITIA, CLERK
   ADMINISTRATION

                  Defendant(s).


  [ ]       Jury Verdict. This action came before the Court for a trial by jury. The issues
            have been tried and the jury has rendered its verdict.

  [T] Decision by Court. This action came for consideration before the Court. The
            issues have been considered and a decision has been rendered.


            IT IS ORDERED AND ADJUDGED that Judgment is entered. The action against
            Equifax is dismissed with prejudice and the action against the Social Secuity
            Administration is dismissed without prejudice pursuant to the “Order Dismissing
            the Action Against Defendants Equifax and The United States Social Security
            Administration” filed on March 09, 2012.




                    March 12, 2012                                           SUE BEITIA
   Date                                                     Clerk

                                                                       /s/ Sue Beitia by EPS
                                                            (By) Deputy Clerk
